                                       Case 22-17842-PDR                   Doc 2         Filed 10/10/22             Page 1 of 5

 Fill in this information to identify the case:
 Debtor names: Vital Pharmaceuticals, Inc.
                    Bang Energy Canada, Inc.
                    JHO Intellectual Property Holdings, LLC
                    JHO Real Estate Investment, LLC
                    Quash Seltzer, LLC
                    Rainbow Unicorn Bev LLC
                    Vital Pharmaceuticals International Sales, Inc.

 United States Bankruptcy Court for the:          SOUTHERN DISTRICT OF                                                                        Check if this is an
                                                  FLORIDA
 Case numbers (if known):                                                                                                                     amended filing



Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured
Claims and Are Not Insiders
                                                                                                                                                  12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and complete         Name, telephone number and email address of Nature of claim          Indicate if claim   Amount of claim If the claim is fully
 mailing address, including zip code   creditor contact                            (for example,             is contingent,     unsecured, fill in only unsecured claim
                                                                                   trade debts, bank        unliquidated, or    amount. If claim is partially secured, fill in total
                                                                                   loans,                       disputed        claim amount and deduction for value of
                                                                                   professional                                 collateral or setoff to calculate unsecured
                                                                                   services, and                                claim.
                                                                                   government                                   Total        Deductio Unsecured claim
                                                                                   contracts)                                   claim, if n for
                                                                                                                                partially value of
                                                                                                                                secured collatera
                                                                                                                                             l or
                                                                                                                                             setoff
 Monster Energy Company      John C. Hueston, Esq.                                      Litigation         Contingent                                      $292,939,761.00
 c/o Hueston Henningan       949-226-6740                                               Claim              Unliquidated
 LLP                         jhueston@hueston.com                                                          Disputed
 Attn: John C. Hueston, Esq.
 523 West 6th St., #400
 Los Angeles, CA 90014

 Orange Bang, Inc.          Steven J. Nataupsky, Esq.                                   Litigation         Contingent                                      $214,757,614.74
 c/o Knobbe, Martens, Olson 949-760-0404                                                Claim              Unliquidated
 & Bear, LLP                steven.nataupsky@knobbe.com                                                    Disputed
 Attn: Steven J. Nataupsky,
 Esq.
 2040 Main Street, 14th Fl.
 Irvine, CA 92614

 Pepsico                               Eric Hansen                                      Settlement                                                         $115,000,000.00
 15 Melanie Lane                       914-519-7904                                     Agreement
 East Hanover, NJ 07936                eric.hanson@pepsico.com

 Doehler USA, Inc.           Paul Graham                                                Settlement                                                           $22,000,000.00
 400 High Point Road SE      888-367-8327                                               Agreement
 Suite 100                   paul.graham@doeher.com
 Cartersville, GA 30120-6610




Official form 204                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                                       Case 22-17842-PDR                   Doc 2         Filed 10/10/22             Page 2 of 5



 Debtor    Vital Pharmaceuticals, Inc.                                                                 Case number (if known)       _________________________
           Bang Energy Canada, Inc.
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                                                                                   contracts)                                   claim, if n for
                                                                                                                                partially value of
                                                                                                                                secured collatera
                                                                                                                                             l or
                                                                                                                                             setoff
 Stellar Group, Inc.                   Derek Bickerton                                  Trade                                                                $18,880,536.77
 2900 Hartley Road                     904-260-2900                                     Vendor
 Jacksonville, FL 32257-
 8221

 The American Bottling                 Joseph S. Naylor                                 Litigation         Contingent                                        $17,681,149.10
 Company                               Swartz Campbell LLC                              Claim              Unliquidated
 300 Delaware Avenue                   302-656-5935                                                        Disputed
 Suite 1410                            jnaylor@swartzcampbell.com
 Wilmington, DE 19801

 Dairy Farmers of America              Robert J. Hoffman                                Litigation         Contingent                                        $14,000,000.00
 Inc.                                  Bryan Cave Leighton Paisner LLP                  Claim              Unliquidated
 1200 Main Street                      816-374-3200                                                        Disputed
 Suite 3800                            rjhoffman@bclplaw.com
 Kansas City, MO 64105


 Ardagh Metal Beverage                 Curt Rothlisberger                               Trade              Contingent                                        $11,143,726.21
 USA, Inc.                             773-490-1864                                     Vendor             Unliquidated
 8770 W. Bryn Mawr Ave.                                                                                    Disputed
 Suite 175
 Chicago, IL 60631-3515

 Trinity Logistics, Inc.               Laura Dukes                                      Freight                                                                $5,605,440.78
 50 Fallon Avenue                      817-359 2505                                     Vendor
 Seaford, DE 19973-1578

 Crown Cork & Seal USA,                Christine J. Horn                                Trade                                                                  $5,022,187.23
 Inc.                                  215-552-3758                                     Vendor
 770 Township Road                     Christine.Horn@crowncork.com
 Yardley PA 19067-4219




Official form 204                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                                       Case 22-17842-PDR                   Doc 2         Filed 10/10/22             Page 3 of 5



 Debtor    Vital Pharmaceuticals, Inc.                                                                 Case number (if known)       _________________________
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                                                                                   contracts)                                   claim, if n for
                                                                                                                                partially value of
                                                                                                                                secured collatera
                                                                                                                                             l or
                                                                                                                                             setoff
 Ball Metal Beverage                                                                    Trade                                                                  $3,976,569.26
 Container Corp.                                                                        Vendor
 10 Longs Peak Drive
 Broomfield, CO 80021

 Webb & Gerritsen                      olddutchmilw@aol.com                             Litigation         Contingent                                          $2,500,000.00
 1308 Poplar Drive                                                                      Claim              Unliquidated
 Waukesha, WI 53188                                                                                        Disputed

 Graphic Packaging                     Kara D'Amato                                     Trade                                                                  $2,399,443.22
 International                         770-240-7656                                     Vendor
 P.O. Box 404170                       kara.damato@graphicpkg.com
 Atlanta, GA 30384-4170

 7-Eleven, Inc.                        800-255-0711                                     Customer           Unliquidated                                        $2,328,814.60
 3200 Hackberry Road                                                                    Programs
 Irving, TX 75063-0131

 Pepsico                               Eric Hansen                                      Customer           Unliquidated                                        $2,100,000.00
 15 Melanie Lane                       914-519-7904                                     Programs
 East Hanover, NJ 07936                eric.hanson@pepsico.com

 XPO Global Forwarding,     800-765-2728                                                Freight                                                                $1,949,393.36
 Inc.                                                                                   Vendor
 13777 Ballantyne Corporate
 Place, Suite 400
 Charlotte, NC 28277

 Priority-1, Inc.                      888-569-8035                                     Freight                                                                $1,396,387.02
 1800 E. Roosevelt Rd.                                                                  Vendor
 Little Rock, AR 72206-2516
 Green Wave Ingredients                Elizabeth Preciado                               Trade Claim                                                            $1,377,375.55
 (GWI)                                 562-207-9770
 P.O. Box 102922                       epreciado@gwiusa.com
 Pasadena, CA 91189-2922



Official form 204                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
                                       Case 22-17842-PDR                   Doc 2         Filed 10/10/22             Page 4 of 5



 Debtor    Vital Pharmaceuticals, Inc.                                                                 Case number (if known)       _________________________
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                                                                                   government                                   Total        Deductio Unsecured claim
                                                                                   contracts)                                   claim, if n for
                                                                                                                                partially value of
                                                                                                                                secured collatera
                                                                                                                                             l or
                                                                                                                                             setoff
 Bevcorp LLC                           440-954-3500                                     Trade Claim                                                            $1,223,341.17
 5655 Paysphere Circle
 Chicago, IL 60674

 Speedway LLC                          Chris Johnson                                    Customer           Unliquidated                                        $1,165,064.09
 P.O. Box 7600                         937-863-6108                                     Programs
 Springfield, OH 45501-7600            cjohnson11@speedway.com

 QuikTrip Corporation                  918-615-7700                                     Customer           Unliquidated                                        $1,137,997.79
 4705 S. 129th East Ave.                                                                Programs
 Tulsa, OK 74134-7005

 Nelson Mullins Broad and               803-799-2000                                    Legal                                                                  $1,078,408.18
 Cassel f/k/a                                                                           Fees
 Nelson Mullins Riley &
 Scarborough LLP
 1320 Main Street, 17th Fl.
 Columbia, SC 29201-3268

 Varni Brothers Corporation            Laura McClure                                    Trade                                                                  $1,035,169.04
 400 Hosmer Ave.                       209-521-1777                                     Vendor
 Modesto, CA 95351-3920                lauram@vbcbottling.com

 Direct Connect Logistix,    Leslie Maish                                               Freight                                                                  $998,294.00
 Inc.                        317-218-7777                                               Vendor
 314 W. Michigan St.
 Indianapolis, IN 46202-3204

 Premier Distributing                  Julie Ryan                                       Trade                                                                    $977,000.00
 Company                               505-342-3510                                     Vendor
 1017 Santa Fe                         julie.ryan@premierdistributing.com
 Clovis, NM 88101




Official form 204                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 4
                                       Case 22-17842-PDR                   Doc 2         Filed 10/10/22             Page 5 of 5



 Debtor    Vital Pharmaceuticals, Inc.                                                                 Case number (if known)       _________________________
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                                                                                   professional                                 collateral or setoff to calculate unsecured
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                                                                                   government                                   Total        Deductio Unsecured claim
                                                                                   contracts)                                   claim, if n for
                                                                                                                                partially value of
                                                                                                                                secured collatera
                                                                                                                                             l or
                                                                                                                                             setoff
 Fona International, Inc.              Michelle Stehouwer                               Trade                                                                    $859,445.60
 1900 Averill Road                     630-578-8600                                     Vendor
 Geneva IL 60134


 Target Corporation                                                                     Customer           Unliquidated                                          $858,780.00
 P.O. Box 1455                                                                          Programs
 Minneapolis, MN 55440-
 1455

 Inventus, LLC/Legility                Jo Anna Williams                                 Profess.                                                                 $835,457.94
 P.O. Box 130114                       858-354-9066                                     Fees
 Dallas, TX 75313-0114                 Joanna.williams@consilio.com

 Wild Flavors, Inc.                    Mike Schneider                                   Trade                                                                    $773,080.92
 1261 Pacific Ave.                     800-888-8576                                     Vendor
 Erlanger, KY 41018

 Total Quality Logistics, LLC Nicholas Montenarello                                     Freight                                                                  $762,486.44
 P.O. Box 634558              813-731-4067                                              Vendor
 Cincinnati, OH 45263-4558




Official form 204                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 5
